Case 1:23-cv-08501-RPK-JRC Document 21 Filed 12/04/23 Page 1 of 4 PageID #: 90




                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK

------------------------------------------------------ x
                                                       )
L.B., individually and on behalf of her                )
minor child Kyle, proceeding under a                   ) Civ. No. 1:23-cv-08501-RPK-JRC
pseudonym,                                             )
                                                       )
                    Plaintiffs,                        )
                                                       )
              v.                                       ) NOTICE OF MOTION FOR
                                                       ) LEAVE TO PROCEED
The City of New York; Jess Dannhauser, in ) ANONYMOUSLY
his official capacity as Commissioner,                 )
Administration for Children’s Services of              )
the City of New York (“ACS”); Ariel                    )
Semper, Nadine Cenord, Bernadet Jean-                  )
Louis, Donna McFadden, Ana Costa,                      )
Taiesha Coleman, and Leydi Taveras, each )
individually and in their official capacity as )
investigators for ACS,                                 )
                                                       )
                    Defendants.                        )
                                                       )
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       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law and

Plaintiffs’ Complaint (ECF No. 1), the undersigned attorneys for Plaintiffs L.B. and Kyle

(“Plaintiffs”) will move before the Honorable Rachel P. Kovner, U.S.D.J., at a date and time to

be determined, at the United States District Court, 225 Cadman Plaza East, Brooklyn, NY 11201,

Courtroom 4E-N, for an order granting Plaintiffs leave to proceed anonymously.

                              Respectfully submitted,

                                                     CROWELL & MORING LLP
Dated: December 4, 2023
New York, New York
                                              By:     /s/ Robert A. Mantel
                                                     Joshua Sohn
                                                     Robert A. Mantel
                                                     Daniella A. Schmidt
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                                         BROOKLYN DEFENDER SERVICES
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                                         Attorneys for Plaintiffs




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
Case 1:23-cv-08501-RPK-JRC Document 21 Filed 12/04/23 Page 3 of 4 PageID #: 92




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                                                       )
L.B., individually and on behalf of her                )
minor child Kyle, proceeding under a                   ) Civ. No. 1:23-cv-08501-RPK-JRC
pseudonym,                                             )
                                                       )
                    Plaintiffs,                        )
                                                       )
              v.                                       ) DECLARATION OF SERVICE
                                                       )
The City of New York; Jess Dannhauser, in )
his official capacity as Commissioner,                 )
Administration for Children’s Services of              )
the City of New York (“ACS”); Ariel                    )
Semper, Nadine Cenord, Bernadet Jean-                  )
Louis, Donna McFadden, Ana Costa,                      )
Taiesha Coleman, and Leydi Taveras, each )
individually and in their official capacity as )
investigators for ACS,                                 )
                                                       )
                    Defendants.                        )
                                                       )
------------------------------------------------------ X

       I, Robert Mantel, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that, on

December 4, 2023, I caused a copy of the foregoing Notice of Motion for Leave to Proceed

Anonymously and accompanying Memorandum of Law to be served on Defendants, by First-

Class Mail, at the following addresses:



       The City of New York
       New York City Law Department
       100 Church Street
       New York, NY 10007

       Jess Dannhauser
       Administration for Children’s Services of the City of New York
       150 William Street
       New York, NY 10038

       Ariel Semper
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      Administration for Children’s Services of the City of New York
      150 William Street
      New York, NY 10038

      Nadine Cenord
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      150 William Street
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      Bernadet Jean-Louis
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      Donna McFadden
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      Ana Costa
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      150 William Street
      New York, NY 10038

      Taiesha Coleman
      Administration for Children’s Services of the City of New York
      150 William Street
      New York, NY 10038

      Leydi Taveras
      Administration for Children’s Services of the City of New York
      150 William Street
      New York, NY 10038


Dated: December 4, 2023
New York, New York
                                          By:     /s/ Robert A. Mantel
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                                                 Tel: (212)590-5442
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